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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES − GENERAL

 Case No.    2:22−cv−00323−RGK−JEM                                  Date   3/28/2022
 Title       MELISSA ROBERTSON V. UNIFYED, LLC ET AL

 Present : The Honorable R. GARY KLAUSNER, UNITED STATES DISTRICT JUDGE
        Joseph Remigio                Miriam Baird           N/A
          Deputy Clerk          Court Reporter / Recorder  Tape No.

     Attorneys Present for Plaintiffs:             Attorneys Present for Defendants:
     Devn Lyon                                     Rachel Lee




 Proceedings:      SCHEDULING CONFERENCE

    Case called. Court and counsel confer. The Scheduling Conference is held and the
 Court sets the following dates:

    Jury Trial (Est. 5 days):                       November 8, 2022 at 09:00 AM
    Pretrial Conference:                            October 24, 2022 at 09:00 AM
    Motion Cut-Off Date (last day to file):         August 24, 2022
    Discovery Cut-Off Date (fact discovery):        August 10, 2022

     Last day to amend the complaint or add parties is 5/1/2022 . The parties shall
 participate in ADR 3 .

     IT IS SO ORDERED.
                                                                                           :2
                                                                   Initials of Preparer: jre




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